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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.



MR. GIESWEIN’S REPLY IN FURTHER SUPPORT OF MOTION FOR BILL
           OF PARTICULARS REGARDING COUNT ONE
      The government’s response to Mr. Gieswein’s Motion for a Bill of Particulars

Regarding Count One, which alleges obstruction of an official proceeding pursuant to

18 U.S.C. § 1512(c)(2), ECF No. 73, essentially provides a bill of particulars regarding

the government’s theory of how Mr. Gieswein’s alleged actions aimed to or did

obstruct the Certification of the Electoral College vote. ECF No. 73 at 5-7 (noting

three ways in which the government claims Mr. Gieswein’s conduct did obstruct an

official proceeding). These clarifications do not address what acts the government will

claim constituted the corrupt acts of obstruction that obstructed the proceedings,

which is also unclear from the Indictment. If other portions of the government’s

response do provide that clarification – as the defense believes is the case – no further

particularity is required.

      To be sure, Count One of the Indictment charges that one act that the

government believes was “corrupt . . . obstruction” was “entering and remaining in

the United States Capitol without authority,” as the government notes. ECF No. 73

at 5; see ECF No. 3 at 1. But the count also vaguely alleges that an unnamed “act of
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civil disorder” and unspecified “disorderly and disruptive conduct” form the basis for

the charge, and does not incorporate by reference any of the other paragraphs in the

Indictment. ECF No. 3 at 1. This leaves a great deal unclear from the face of the

Indictment, and would leave Mr. Gieswein unsure of which of his supposedly

“relentless unlawful acts at and around the Capitol on January 6” the government

intends to rely upon as corrupt obstructive conduct. See ECF No. 73 at 5. This is

particularly so given that the exact definition of the terms in § 1512 remains in flux,

and the government has not adopted the view that only illegal actions may qualify as

“corrupt.” See generally ECF No. 74.

      However, in its response to the instant motion, the government appears to offer

the type of detail about the alleged acts it will rely on that a bill of particulars might

provide. Specifically, the government notes that in addition to what is stated in Count

One, the Indictment also charges three counts of assault and destruction of

government property. See ECF No. 73 at 5. Immediately after doing so, the

government states that the defendant is on “plainly on notice of the conduct for which

he will be tried on Count One.” Id. This suggests that the government believes that

these counts provide the defense with notice about what is charged in Count One. Id.

Moreover, the government also emphasizes these alleged acts in Counts Two through

Five in its opposition to the defense motion to dismiss Count One. See ECF No. 74 at

26 (arguing that the count is not vague as applied to him because it alleges “the

unlawful invasion of the Capitol and its grounds and multiple assaults on federal law

enforcement officials”). From this, the defense concludes that the conduct alleged in



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Counts Two through Five are, in the government’s mind, the “entering and

remaining,” “act of civil disorder” and “disorderly and disruptive conduct” referred to

in Count One, and that these are the theories he must defend against. 1

      If Mr. Gieswein may rely on this reading, then he seeks no further particulars

regarding Count One. But if the government will argue that other alleged acts of Mr.

Gieswein’s constituted corrupt acts of obstruction, then further particulars are

needed so that he can (1) understand the charges, (2) can prepare a defense, (3) can

avoid prejudicial surprise at trial, and (4) can be protected against retrial for the same

offense. See United States v. Butler, 822 F. 2d 1191 (D.C. Cir. 1987).

      Respectfully submitted on January 11, 2022.

                                                ROBERT GIESWEIN
                                                by counsel:

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                                                Federal Public Defender for the
                                                Eastern District of Virginia

                                                by: ________s/_______________
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                                                Elizabeth A. Mullin


      1 On the other hand, a later portion of the opposition to the motion to dismiss
again suggests that the government might ask the jury to conclude that acts from a
broader universe of conduct were “wrongful” conduct upon which it will rely to prove
Count One. See ECF No. 74 at 29-30 (arguing that even if some cases might present
close cases in a vagueness analysis, this one does not because of the allegations that
Mr. Gieswein “rushed past law enforcement, trampled barricades, assaulted law
enforcement, and entered the restricted Capitol building where lawmakers, who
should have been certifying the results of the presidential election, had been forced
to take shelter from the threat posed by the defendant and others”).


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